     Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 1 of 12




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

JORGE CRUZ,                                  )
                                             )
      Plaintiff,                             )
                                             )      Civil Action File
v.                                           )      No. 1:15-cv-02578-LMM
                                             )
YES COMMUNITIES, INC.,                       )
                                             )
      Defendant.                             )
                                             )

 PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO ENFORCE
                 SETTLEMENT AGREEMENT

      Plaintiff Jorge Cruz hereby responds to Defendant Yes Communities, Inc.’s

Motion to Enforce Settlement Agreement, showing the Court as follows:

                           STATEMENT OF FACTS

      The Court need look no further than Defendant’s extensively edited response

to Plaintiff’s settlement offer, attached hereto as Exhibit 1, to know that there was

no meeting of the minds and thus, no agreement. Of course, it was no more

difficult for Defendant to know there was no settlement. Defendant could have

signed and returned the settlement documents proposed by Plaintiff. That would

have created an agreement. Instead, Defendant made material changes to the

settlement documents (see Ex. 1), and thus rejected Plaintiff’s offer and made a


                                         1
     Case 1:15-cv-02578-LMM       Document 34    Filed 01/07/16   Page 2 of 12




counteroffer. Defendant does not assert and it is undisputed that Plaintiff never

agreed to Defendant’s counteroffer. Defendant knows full well there was no

agreement, but filed this Motion notwithstanding. Defendant’s Motion is frivolous

on its face. This Court should seek to discourage the filing of this sort of patently

frivolous Motion.

      The parties attempted to settle Plaintiff’s claims. As is sometimes the case,

the devil was in the details and no agreement was reached. Despite Defendant’s

contentions otherwise, there was no meeting of the minds as to all essential terms

of the would-be agreement, and no valid, binding settlement agreement ever arose.

Furthermore, the FLSA’s requirement of prior court approval precludes any

reasonable belief by Defendant that an agreement exists.

      On the evening of December 18, 2015, the parties agreed on the amount to

be paid to settle the case, subject to agreement as to all other material terms. See

Exhibit 2 and Exhibit 3 (informing the Court that, subject to circulation of

settlement documentation and Court approval, the parties had reached a

settlement). Plaintiff expressly informed Defendant that “[g]etting this paid before

the end of the year (only 6 working days) is critical.” See Exhibit 2. As the Court

informed the parties that it would not be able to address the parties’ agreement

until January 2016 unless a settlement approval conference could be held on the


                                         2
     Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 3 of 12




morning of December 21, 2015, the agreement’s success depended upon its quick

execution.

      Timing being critical and time available being short, on the evening of

Friday the 18th, Plaintiff’s counsel worked until almost 9 p.m. on the settlement

documents. The next morning, on Saturday, December 19th, Plaintiff’s counsel

resumed work on the documents at approximately 5:30 a.m. and sent a draft

agreement to Defendant at 7:44 a.m. which set forth the terms upon which Plaintiff

was willing to settle. See Exhibit 4. Plaintiff’s counsel intended to produce the

first draft as quickly as possible to maximize the amount of time available for

Defendant to respond and with the hope that any disagreements could be

negotiated to a settlement during the weekend. In that correspondence and the

emails that followed, Plaintiff’s counsel again made clear to Defendant that timing

was critical to the parties’ agreement, and that Plaintiff reserved the right to make

changes to the agreement after a review of any response. Id. By Sunday morning,

not only had Defendant not responded substantively, it also gave no indication of

when it would respond. Plaintiff’s counsel was wholly unavailable after 2:00 p.m.

on Sunday, December 20th and informed Defendant.            Id.   Defense counsel’s

response was, “Don’t dictate when you expect things from me.” Id.             When

Defendant failed to respond to Plaintiff’s proposed settlement agreement,


                                         3
       Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 4 of 12




Plaintiff’s counsel informed the Court that settlement communications had broken

down and that the scheduled settlement conference was no longer necessary. See

Exhibit 5.

        Shortly after 2:00 p.m. on Sunday, Defendant did respond to Plaintiff’s

proposed settlement agreement, but Defendant did not accept the Agreement.

Rather, Defendant sent the extensively edited document attached hereto as Exhibit

1.    Defendant’s edits materially altered the parties’ agreement.       By way of

example, Defendant’s counteroffer included the following non-agreed upon

changes:

     • Plaintiff agreed to accept $22,173.22 in settlement of his claim for liquidated

        and other non-wage damages, with $21,173.22 to be paid upfront, and the

        remaining $1,000.00 to be paid after Plaintiff relinquished ownership and

        possession of his home to Defendants in acceptable condition. Defendant

        unilaterally changed this provision so that Plaintiff would receive

        $17,173.22 after execution and approval of the agreement, and $5,000.00

        after meeting certain additional requirements inserted by Defendant. See

        Ex. 1, para. 2(b) of the redlined agreement.

     • Plaintiff agreed to settle his claims in part based upon Defendant’s promise

        to satisfy Plaintiff’s mortgage and lot rent requirements up to and through


                                           4
     Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 5 of 12




      January 31, 2016. Defendant then unilaterally altered the parties’ agreement

      to impose liability on Plaintiff for this amount in the event Plaintiff did not

      comply with certain obligations asserted by Defendant—the satisfaction of

      which was left to Defendant’s sole discretion. See Ex. 1, para. 3 of the

      redlined agreement.

   • Plaintiff agreed to transfer ownership and possession of his home to

      Defendant in exchange for Defendant’s proof of satisfaction of Plaintiff’s

      mortgage.     Defendant’s counteroffer rejected that term and, instead,

      proposed to provide proof of payment of the mortgage loan seven business

      days after Plaintiff delivered ownership and possession, and only upon

      Plaintiff’s satisfaction of other conditions. See Ex. 1, para. 3(f) of the

      redlined agreement.

      These changes, among others, were significant, and they materially altered

the spirit of the parties’ proposed settlement agreement. This is particularly so in

the context of an FLSA settlement, where the addition of non-monetary terms and

concessions tends to diminish the fairness of a plaintiff’s compromise of his claim

for unpaid wages. The parties never reached a final agreement and there is thus no

settlement to enforce. This Court should deny Defendant’s Motion.




                                         5
     Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 6 of 12




              ARGUMENT AND CITATION OF AUTHORITY

1.    The parties did not agree to all essential terms of the proposed
      settlement, and no valid settlement agreement exists under Georgia
      Law.

      The construction and enforcement of settlement agreements is governed by

principles of state contract law. See Hayes v. National Serv. Indus., 196 F.3d

1252, 1254 (11th Cir. 1999). Although Georgia law favors compromise, “a trial

court is obviously limited to those terms upon which the parties themselves have

mutually agreed” when considering the enforceability of an alleged settlement

agreement. Kemper v. Brown, 325 Ga. App. 806, 808 (2014). In the present case,

the parties attempted and intended to reach an agreement of settlement; however,

the parties never agreed upon certain essential terms of the agreement.

      “To establish a contract, the offer must be accepted unequivocally and

without variance of any sort. A purported acceptance of an offer that varies even

one term of the original offer is a counteroffer.” Kemper at 808. In Kemper, the

plaintiff sent the defendant insurance company a demand letter offering to execute

a release of her claims in exchange for $25,000. Id. at 807. In response, the

defendant sent the plaintiff a check for the demanded amount, a release form, and a

letter stating: “[in] concluding the settlement, we are entrusting that you place the

money in an escrow account in regards to any and all liens pending. This demand


                                         6
     Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 7 of 12




is being asserted to protect the lien’s interest.”    Id.   Because this purported

acceptance imposed additional conditions that the plaintiff had not agreed to, the

Kemper Court construed the defendant’s response as a counteroffer “rather than an

unconditional and unequivocal acceptance,” and reversed the trial court’s order

granting the defendant’s motion to enforce. Id. at 809.

      As in Kemper, Defendant’s redlined agreement materially altered the

settlement terms offered by Plaintiff in this case. Defendant’s counteroffer not

only changed the terms of payment to Plaintiff, it also altered Plaintiff’s liability

for default of the agreement and required Plaintiff to transfer ownership of his real

property to Defendant before receiving proof of Defendant’s payment of Plaintiff’s

mortgage, among other material changes. See Ex. 5, redlined agreement. As a

result, Defendant’s response to Plaintiff’s settlement offer amounts to a

counteroffer—not an acceptance. See, e.g. Lexington Nat’l Bail Servs. v. Spence,

2007 U.S. Dist. LEXIS 22431 (N.D. Ga. 2007) (denying motion to enforce

settlement agreement where, after the parties had informed the Court that the case

had settled, the parties’ differing settlement drafts indicated that the defendant

failed to unconditionally accept the plaintiff’s settlement offer, and the failure to

agree on essential terms rendered the entire agreement unenforceable).




                                         7
     Case 1:15-cv-02578-LMM       Document 34   Filed 01/07/16   Page 8 of 12




      Though Defendant argues that its unilateral alteration of material settlement

terms proposed by Plaintiff somehow does not amount to a counteroffer,

Defendant cites to no authority in support of this position. Because the parties

have not mutually agreed upon several material terms of the settlement agreement

contemplated in this case, no enforceable agreement exists and Defendant’s

Motion should be denied.

2.    The settlement agreement is unenforceable under the FLSA.

      As set forth in Lynn’s Food Stores, Inc. v. U.S., 679 F.2d 1350 (11th Cir,

1982) and its progeny, “[t]here are only two ways in which back wage claims

arising under the FLSA can be settled or compromised by employees,” 679 F.2d at

1352. The first is under the supervision of the Secretary of Labor. The second is

via stipulated judgment entered by the district court after “scrutinizing the

settlement for fairness.” Id. at 1353.

      In its Motion to Enforce, Defendant asks this Court to compel Plaintiff to

comply with the terms of the parties’ purported settlement agreement. In doing so,

however, Defendant ignores the fact that no enforceable agreement exists absent

this Court’s prior approval of the agreement.      Defendant cites to two cases

concerning motions to enforce settlement agreements under the FLSA: Solis v.

Magana, 2010 U.S. Dist. LEXIS 29937 (E.D. Tn. March 26, 2010) and Brock v.


                                         8
     Case 1:15-cv-02578-LMM       Document 34      Filed 01/07/16   Page 9 of 12




Scheuner Corp., 841 F.2d 151 (6th Cir. 1988). Neither case is binding precedent.

More significantly, Solis and Brock each concern a settlement supervised by the

Secretary of Labor, where court approval was not a prerequisite to the finding of a

valid agreement.   Thus, these opinions are inapposite to Defendant’s arguments or

the Court’s analysis of the current dispute.

      Contrary to Defendant’s argument, the parties’ have not reached an

enforceable agreement, and Defendant’s Motion should be denied. Because the

agreement between the parties was not made under the supervision of the Secretary

of Labor, it is only valid if the Court enters a “stipulated judgment” approving the

agreement. Nall v. Mal-Motels, Inc. 723 F.3d 1304, 1306 (11th Cir. 2013). As

recently held by the Eleventh Circuit, “it takes two (or more) to stipulate, and a

judgment to which one side objects is not a stipulated one.” Id.

      The parties expressly conditioned the validity of the proposed settlement on

Court approval and dismissal with prejudice. Neither ever occurred. Furthermore,

Defendant cannot seek to enforce a settlement which lacks mutual agreement as to

essential terms and is not valid under the FLSA.

                                  CONCLUSION

             Defendant’s Motion is frivolous. Defendant could not have reasonably

believed that the Court would grant its Motion. Accordingly, Plaintiff respectfully


                                          9
     Case 1:15-cv-02578-LMM      Document 34     Filed 01/07/16   Page 10 of 12




requests that the Court deny the Motion, and award and impose such other and

further relief as the Court deems appropriate.

      This 7th day of January, 2016.

                                                   COHAN LAW GROUP, LLC

                                                   /s/ Louis R. Cohan
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                                         10
     Case 1:15-cv-02578-LMM     Document 34     Filed 01/07/16   Page 11 of 12




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v.                                          )     No. 1:15-cv-02578-LMM
                                            )
YES COMMUNITIES, INC.,                      )
                                            )
      Defendant.                            )
                                            )

                           CERTIFICATE OF SERVICE

       I hereby certify that I have electronically filed the foregoing Response to
Defendant’s Motion to Enforce Settlement Agreement using the CM/ECF system,
which will automatically send email notification of such filing to the following
attorneys of record:

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                          [SIGNATURE PAGE FOLLOWS]


                                       11
    Case 1:15-cv-02578-LMM     Document 34   Filed 01/07/16   Page 12 of 12




     This 7th day of January, 2016.

                                               COHAN LAW GROUP, LLC

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                                      12
